                    Case 2:03-cr-00384-WBS Document 255 Filed 03/03/08 Page 1 of 6
AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                     v.                                                  (For Offenses Committed On or After November 1, 1987)
                                                                         Case Number: 2:03CR00384-04
                      IRENE HUNT
                    aka Irene Harrod;                                    Peter Kmeto, Appointed
                                                                         Defendant’s Attorney
                      aka Rebekah
THE DEFENDANT:
[U]      pleaded guilty to count(s): 2 of the Second Superseding Indictment .
[]       pleaded nolo contendere to counts(s)         which was accepted by the court.
[]       was found guilty on count(s)       after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                            Date Offense             Count
Title & Section                      Nature of Offense                                      Concluded               Number(s)
18 U.S.C. 2251A(a)(1)                Transferring Custody of Minor For the Purpose          10/4/2001               2
                                     of Producing a Visual Depiction of Minor
                                     Engaged in Sexually Explicit Conduct; Aiding
                                     and Abetting


       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)             and is discharged as to such count(s).

[U]      Count(s) 1, 4, 5, 6, 7, 8 and 9     are dismissed on the motion of the United States.

[U]      Underlying Indictment and Superseding Indictment are dismissed by District Court on motion of the United States.

[]       Appeal rights given.                          [U ]      Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                                         February 25, 2008
                                                                                   Date of Imposition of Judgment



                                                                 Signature of Judicial Officer


                                                                        William B. Shubb, United States District Judge
                                                                                 Name & Title of Judicial Officer

                                                                                                March 3, 2008
                                                                                                    Date
                   Case 2:03-cr-00384-WBS Document 255 Filed 03/03/08 Page 2 of 6
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:03CR00384-04                                                                Judgment - Page 2 of 6
DEFENDANT:                IRENE HUNT; aka Irene Harrod; aka Rebekah


                                                        IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 176 months, to be served concurrent to the sentence previously imposed in Sacramento County Superior Court
case number 01F09222.




[U ]     The court makes the following recommendations to the Bureau of Prisons: The Court recommends that the
         defendant be incarcerated in Dublin, California, but only insofar as this recommendation accords with security
         classification and space availability.

[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
                     Case 2:03-cr-00384-WBS Document 255 Filed 03/03/08 Page 3 of 6
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:                2:03CR00384-04                                                                                Judgment - Page 3 of 6
DEFENDANT:                  IRENE HUNT; aka Irene Harrod; aka Rebekah

                                                  SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of 60 months.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[U]      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
         is a student, as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
      each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                   Case 2:03-cr-00384-WBS Document 255 Filed 03/03/08 Page 4 of 6
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:               2:03CR00384-04                                                                     Judgment - Page 4 of 6
DEFENDANT:                 IRENE HUNT; aka Irene Harrod; aka Rebekah

                                 SPECIAL CONDITIONS OF SUPERVISION


1.   The defendant shall submit to the search of her person, property, home, and vehicle by a United States Probation
     Officer, or any other authorized person under the immediate and personal supervision of the probation officer, based
     upon reasonable suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation.
     The defendant shall warn any other residents that the premises may be subject to searches pursuant to this condition;

2.    As directed by the probation officer, the defendant shall participate in a program of mental health treatment (inpatient
     or outpatient.);

3.   As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and
     shall make payment directly to the vendor under contract with the United States Probation Office of up to $25 per
     month;

4.   The defendant shall have no contact with children under the age of 18 unless approved by the probation officer in
     advance in writing. The defendant is not to loiter within 100 feet of school yards, parks, playgrounds, arcades, or
     other places primarily used by children under the age of 18. This shall include that the defendant is not to engage in
     any occupation, either paid or volunteer, which exposes him directly or indirectly with children under the age of 18;

5.   The defendant shall (a) consent to the probation officer and /or probation service representative conducting periodic
     unannounced examinations of any computer equipment or device that has an internal or external modem which may
     include retrieval and copying of all data from the computer or device and any internal or external peripherals to ensure
     compliance with conditions and/or removal of such equipment for purposes of conducting a more thorough inspection;
     and (b) consent at the direction of the probation officer to having installed on the computer or device, at defendant's
     expense, any hardware or software systems to monitor the computer or device's use;

6.   The defendant shall not possess, own, use, view, read or frequent places with any sexually explicit material in any
     form that depicts children under the age of 18. Sexually explicit conduct is defined at 18 USC 2256(2) and means
     actual or simulated (a) sexual intercourse, including genital- genital, oral-genital, or oral-anal, whether between the
     same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious exhibition of
     the genitals or pubic area of any person under the age of 18;

7.   The defendant shall attend, cooperate with, and actively participate in a sex offender treatment and therapy program
     (which may include, but is not limited to risk assessment, polygraph examination, computer voice stress analysis
     (CVSA) and/or ABEL assessment) as approved and directed by the probation officer and as recommended by the
     assigned treatment provider;

8.   The defendant shall register, as required in the jurisdiction in which she resides, as a sex offender;

9.   The defendant shall register and comply with requirements in the state sex offender registration agency in any state
     where the defendant resides, is employed, carries on a vocation, or is a student; and

10. The defendant shall submit to the collection of DNA as directed by the probation officer.
                      Case 2:03-cr-00384-WBS Document 255 Filed 03/03/08 Page 5 of 6
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:03CR00384-04                                                                           Judgment - Page 5 of 6
DEFENDANT:                    IRENE HUNT; aka Irene Harrod; aka Rebekah

                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                      Fine                   Restitution
      Totals:                                           $ 100                         $                         $


[U] The determination of restitution is deferred until April 14, 2008 at 8:30 a.m. Defendant’s waiver of appearance shall
    be made in writing. An Amended Judgment in a Criminal Case (AO 245C) will be entered after such determination.

[]    The defendant must make restitution (including community restitution) to the following payees in the amount listed
      below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
      specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
      3664(I), all nonfederal victims must be paid before the United States is paid.



Name of Payee                                        Total Loss*              Restitution Ordered Priority or Percentage
                                                          $                             $



      TOTALS:                                               $                         $


[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
      full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
      on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[]    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived for the               [ ] fine          [ ] restitution

      [ ] The interest requirement for the                         [ ] fine          [ ] restitution is modified as follows:




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
                      Case 2:03-cr-00384-WBS Document 255 Filed 03/03/08 Page 6 of 6
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:03CR00384-04                                                                    Judgment - Page 6 of 6
DEFENDANT:                    IRENE HUNT; aka Irene Harrod; aka Rebekah

                                                  SCHEDULE OF PAYMENTS


      Payment of the total fine and other criminal monetary penalties shall be due as follows:

A     [ ] Lump sum payment of $              due immediately, balance due

          []        not later than  , or
          []        in accordance with            [ ] C,    [ ] D,   [ ] E, or   [ ] F below; or

B     [U ] Payment to begin immediately (may be combined with [ ] C,             [ ] D, or [ ] F below); or

C     [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $    over a period of        (e.g., months or
          years), to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D     [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $  over a period of    (e.g., months or
          years), to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     [ ] Payment during the term of supervised release will commence within   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
          that time; or

F     [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[ ]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:


[]    The defendant shall pay the cost of prosecution.

[]    The defendant shall pay the following court cost(s):

[]    The defendant shall forfeit the defendant’s interest in the following property to the United States:
